                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                      )              No. 3:05cr400
                                               )
                               Plaintiff       )
                                               )           AMENDED
               v.                              )        SCHEDULING ORDER
                                               )        AND CONTINUANCE
                                               )
CUMMINS, et al.,                               )
                                               )
JUAN LUIS LLAMAS (4)                           )
JOSHUA JORANE GRIMES (11)                      )
MICHAEL ROBERT KEARNS (12)                     )
                                               )
                               Defendants      )

       THE COURT, sua sponte, hereby amends it prior peremptory scheduling order in the above-

captioned case. Previously, when Defendant Juan Luis Llamas (Defendant No. 4) was the only

remaining defendant in custody, the Court at the request of the parties set a peremptory trial date of

Tuesday, November 13, 2007 (Doc. No. 110). Since that time, Defendants Joshua Jorane Grimes

(Defendant No. 11) and Michael Robert Kearns (Defendant No. 12) have been arrested and

arraigned.

       When Defendant Llamas was the only pending defendant, counsel estimated a four day trial,

which would not interfere with the Thanksgiving holiday week.

       Now that three defendants are pending trial, it is likely that the trial will run over to the

Thanksgiving week, creating administrative burdens and scheduling conflicts with court personnel

and jurors.

       THEREFORE, based upon the ends of justice, the Court continues and amends its

peremptory setting in this matter by scheduling jury selection and trial to begin MONDAY,




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NOVEMBER 26, 2007, at 9:00 am.

      IT IS SO ORDERED.

                                       Signed: September 17, 2007




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